                 Case 6:19-bk-04848-CCJ                 Doc 19           Filed 08/29/19   Page 1 of 1
[Dodefmao] [District Order Deficient Motion, Application or Objection]




                                            ORDERED.
Dated: August 29, 2019




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                          Case No. 6:19−bk−04848−CCJ
                                                                                Chapter 7
Ashby Allan McClanahan Jr
dba Ashby Allan McClanahan Jr., Attorney At Law



________Debtor*________/



         ORDER ABATING AMENDED MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

  THIS CASE came on for consideration, without hearing, of the Amended Motion for Leave to Withdraw as
Counsel by Debtor , Doc. # 14 . After review, the Court determines that the motion , is deficient as follows:

         Service upon all creditors on the matrix using a current mailing matrix obtained from the
         Clerk of Court is not indicated or the current mailing matrix obtained from the Clerk of Court
         was not attached. Fed. R. Bankr. P. 2002(a), Fed. R. Bankr. P. 3015(g) and Local Rule
         9013−1(e).




   Accordingly it is

   ORDERED:

   Consideration of the motion is abated until the deficiency is corrected.



The Clerk's Office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
